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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                          IP Address: 100.19.84.41
Total Works Infringed: 26                                                                           ISP: Verizon Fios
 Work       Hashes                                                                UTC        Site          Published     Registered   Registration
 1          Info Hash:                                                            05-28-     Blacked       05-07-2021    06-09-2021   PA0002295580
            A3F48EADCC48715AAC920647B517D36CFEA3EF25                              2021
            File Hash:                                                            15:03:36
            79FBFABCA7F9575F7EA11AAB299B3ED03901F46B5F1500FB8225410EE54FA5E8
 2          Info Hash:                                                            05-24-     Blacked       03-27-2021    04-27-2021   PA0002288945
            C3FB7277333208A9A5A6875DFC848D49EBF63316                              2021
            File Hash:                                                            04:43:41
            62B9ECD5B5E4215A3A277FABECFAD4106237E5194C3DC0491B94AF579227FACE
 3          Info Hash:                                                            05-24-     Blacked       05-03-2021    06-15-2021   PA0002296918
            7EEF7233C8C4FB9F9700A542A31BBBA1330EA202                              2021       Raw
            File Hash:                                                            04:34:54
            A7091159B44677D67259A1F4B2557514BA8D00DD40119D85CC5B6F3553A536AC
 4          Info Hash:                                                            04-07-     Blacked       03-13-2021    03-22-2021   PA0002282509
            5B05B4756465E8FBC3AEB69A9DDBACFB92195E16                              2021
            File Hash:                                                            13:21:35
            A0DA312FFEA355FDD71CF007B13DDB12E6F63BF39CA425BA70A999EC05FBC48A
 5          Info Hash:                                                            04-07-     Blacked       02-15-2021    03-08-2021   PA0002280367
            5EFC372A9A232F2A2C4F836A90292238000157E3                              2021       Raw
            File Hash:                                                            02:22:18
            DF20477BA851C75D4916169B58F3860084D555D8B96BA91B1408066D86513723
 6          Info Hash:                                                            04-06-     Blacked       03-20-2021    04-14-2021   PA0002286724
            58A2718F06BEDF42378F7D683C261C6E717BEED0                              2021
            File Hash:                                                            12:24:25
            367DA0B6CB23569E57D6BDECB108ADD0B0002715646EFED1F8246C3D92616F20
 7          Info Hash:                                                            03-27-     Blacked       01-18-2021    02-09-2021   PA0002276148
            0AC75990739A686B555938ABFD3276F73FF69DFF                              2021       Raw
            File Hash:                                                            14:35:38
            2CA5AA073582E71D9492E7E3E529F4816734EFC58D3451C35339EE6074EEA6F0
 8          Info Hash:                                                            03-27-     Blacked       01-16-2021    02-09-2021   PA0002276150
            A0D231C69410DDFB8B2D18113A9E5A13210C3E4F                              2021
            File Hash:                                                            14:19:15
            AD6AA73F5B75932D95CD3DC7F4A87B9B79B13007469AC8D392396797CCA8AD60
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         03-27-     Tushy     02-07-2021   03-08-2021   PA0002280362
       97411C3987A905CD4C458D6A88BC8EB53796B51B                           2021
       File Hash:                                                         13:39:55
       169C2D70CE4F3BF1320FE3AB4A5BF7A90BF0429D9734BBF6A872DA7BF3CAA5C0
10     Info Hash:                                                         03-27-     Blacked   02-06-2021   03-08-2021   PA0002280372
       93EB9DEAF463F4AF3BD9E2D76BA391F909CCC7F2                           2021
       File Hash:                                                         12:47:39
       04CA4329B75F3F75ABC66A751B7820B57C4F956A749EA82616FC05382A887E9A
11     Info Hash:                                                         03-27-     Blacked   02-13-2021   02-26-2021   PA0002283713
       B7F95C7485D8CE13FDAF1C84C7F2B28FD7196639                           2021
       File Hash:                                                         12:40:14
       196C11D4AF5268CA3183FD2C119FA845C13796427571509A63C0AE435D1E29DF
12     Info Hash:                                                         03-27-     Blacked   01-11-2021   02-26-2021   PA0002283703
       747D3FC7E024B3165FFCC028FBD37CBE09D1B640                           2021       Raw
       File Hash:                                                         12:37:13
       B0D40E41F0DC9D5094ADFC31E36D551DA13B07625F4C9F1E1CF922851D82B78D
13     Info Hash:                                                         03-27-     Blacked   02-08-2021   03-08-2021   PA0002280363
       F2D58D0D2635DDE3BBE018EF87E28BFB4A1DCA0B                           2021       Raw
       File Hash:                                                         12:34:41
       A182656B5855D9EEEB1A21DEAC2D825C87BC0FD2767A1E34F247D9208085DABD
14     Info Hash:                                                         03-13-     Tushy     02-28-2021   03-22-2021   PA0002282501
       5EA1CEDFD4BE9576CDFC7164EC71A2854CBFE95B                           2021
       File Hash:                                                         14:47:12
       19B7648336A0AB740B87093BD080CCAEC8B990B2083C3E21389D741846334EA5
15     Info Hash:                                                         03-13-     Blacked   02-20-2021   03-08-2021   PA0002280369
       40B618515790CB5245901B36028EC5CF962DB9B0                           2021
       File Hash:                                                         11:53:15
       3B4F63B3EA800CD166A83F1D6D63EA40DA6B878EDF8034E5928B9FB164E6E88C
16     Info Hash:                                                         03-13-     Blacked   02-27-2021   03-08-2021   PA0002280373
       A958C52F2441F6FC0F41EF7DB16076374893D9DE                           2021
       File Hash:                                                         11:16:36
       CEC4A51418BC77D6FC7DF8A0E628510C744DCD589B3684B53CE1D371A04B28D2
17     Info Hash:                                                         02-06-     Blacked   01-30-2021   02-26-2021   PA0002283695
       2BE97DFA49EF767D94E4040239C494349D409C46                           2021
       File Hash:                                                         13:59:49
       EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-25-     Vixen     11-20-2020   11-30-2020   PA0002266357
       92ECBCA42BEE2DBD41061A87C1FE4AD94D24A0B4                           2021
       File Hash:                                                         00:48:29
       062E244290381DFB1C0FB755670552BA3F41585F86992683AC19F2591CBC59E5
19     Info Hash:                                                         01-05-     Vixen     11-13-2020   12-09-2020   PA0002274953
       A6BDB702FDC2F99FCFC7B6D936C66A8CCE8CD3AC                           2021
       File Hash:                                                         12:27:26
       CA1717B5431B9E79AAEC7F85021F842AA05BE03ACF69D42B731AE2EDE639DA7F
20     Info Hash:                                                         01-05-     Blacked   11-30-2020   01-04-2021   PA0002277037
       93B327A8C48936A0E4EE9E25BA5D92239B7F914E                           2021       Raw
       File Hash:                                                         12:27:26
       00569396D8A24122745102BDD317673CF22263E245479FF762519E19B818C9C2
21     Info Hash:                                                         01-05-     Vixen     10-23-2020   11-18-2020   PA0002272622
       97DBC412467273A5AABCF3D26E13F83FEEEDD9BD                           2021
       File Hash:                                                         12:26:57
       29019A60FE2D2C71C049A0855D2ED41BFFFFE95470150CAF81DFB4D37857410E
22     Info Hash:                                                         01-05-     Tushy     11-08-2020   12-09-2020   PA0002274932
       7C9E7439294D283600D262EF7776E5CF9F31D41E                           2021
       File Hash:                                                         12:26:50
       6B9279E5B80C868C4B6CB4049FB497DD3F916FCA0AE9A9449A07A3317535D973
23     Info Hash:                                                         12-31-     Tushy     12-20-2020   01-05-2021   PA0002269960
       41173C5F7359A9FC9F286D56CAA3585A9B525A27                           2020
       File Hash:                                                         17:03:38
       6726476A3C0BB654896DD95921CAAA306C2870E19C498587A6AE105DBC5F10CC
24     Info Hash:                                                         12-31-     Vixen     09-04-2020   09-22-2020   PA0002265929
       C402F50AEE172F954FB7E93B38AE22D164E9CDD8                           2020
       File Hash:                                                         16:59:04
       8C8784AAA22EE7D6F14BBFC0DF870429185FF2BAA536C4BBEAA2AAABA592FD14
25     Info Hash:                                                         12-31-     Blacked   12-12-2020   01-04-2021   PA0002277035
       42F4FC72BFE526D9442ABCD62F01232B062FAF12                           2020
       File Hash:                                                         16:31:27
       70D50A2F962E9E69D64450F1255A37496A84DC51CBC070FC62FD9604E9F44960
26     Info Hash:                                                         12-31-     Blacked   12-14-2020   12-28-2020   PA0002269086
       AE7CFE431BC4E933E92E11032C25A67D4CA61B79                           2020       Raw
       File Hash:                                                         16:13:34
       F638DC8E8853C8CF9176D97CB6027BDD2DBDB470C7EF8A8C9BECCCEB3A4B6104
